Case 2:19-cr-00246-MCA Document 232-1 Filed 12/09/21 Page 1 of 3 PageID: 2833




 Attachment
      1
                                                                         Case 2:19-cr-00246-MCA Document 232-1 Filed 12/09/21 Page 2 of 3 PageID: 2834

Number   Date                    Document Type    Document Name                                                     Author            Recipient                                            CC                                                                                             Application   Subject Matter         Category of Privilege                                 Record No.   Bates Range
     244 11/19/2015 10:35 AM    CORRESP          Initial discussion                                                coo@procall.com    Jeff Baird                                                                                                                                         MSG            Legal representation   Attorney-Client Privilege                            27R6117       B&F 0001201
     243 11/19/2015 11:02 AM    CORRESP          FW: Initial discussion                                            Amy Watson         coo@procall.com                                      admin@videodoctorusa.com; noahs@videodoctorusa.com; Jeff Baird                                MSG            Legal representation   Attorney-Client Privilege                            27R6116       B&F 0001200
     242 11/19/2015 11:29 AM    CORRESP          Re: Initial discussion                                            coo@procall.com    Amy Watson                                           coo@procall.com; admin@videodoctoorusa.com; Jeff Baird                                        MSG            Legal representation   Attorney-Client Privilege                            27R6115       B&F 0001198 - B&F 0001199
     241 11/19/2015 12:38 PM    CORRESP          Re: FW: Initial discussion                                        Les Stockett       Amy Watson                                                                                                                                         MSG            Legal representation   Attorney-Client Privilege                            27R6114       B&F 0001196 - B&F 0001197
     240   11/19/2015 1:49 PM   CORRESP          RE: FW: Initial discussion                                        Amy Watson         Les Stockett                                                                                                                                       MSG            Legal representation   Attorney-Client Privilege                            27R6113       B&F 0001194 - B&F 0001195
     239   11/19/2015 1:52 PM   CORRESP          Conference Call with Jeff Baird                                   Amy Watson         Les Stockett                                         coo@procall.com; noahs@videodoctorusa.com                                                     MSG            Legal representation   Attorney-Client Privilege                            27R6112       B&F 0001193
     238   11/24/2015 6:20 PM   CORRESP          Re: Information Needed/Engagement of our Law Firm                 Les Stockett       Jeff Baird                                                                                                                                         MSG            Engagement details     Attorney-Client Privilege                            27R6111       B&F 0001191 - B&F 0001192
     237   11/25/2015 8:59 AM   CORRESP          RE: Information Needed/Engagement of our Law Firm                 Amy Watson         Les Stockett                                                                                                                                       MSG            Engagement details     Attorney-Client Privilege                            27R6110       B&F 0001188 - B&F 0001190
     236   11/25/2015 9:16 AM   CORRESP          Re: Information Needed/Engagement of our Law Firm                 Les Stockett       Amy Watson                                                                                                                                         MSG            Engagement details     Attorney-Client Privilege                            27R6109       B&F 0001184 - B&F 0001187
     235   11/25/2015 9:20 AM   CORRESP          RE: Information Needed/Engagement of our Law Firm                 Amy Watson         Les Stockett                                         Creag Harry; Gay Yocum; Jeff Baird                                                            MSG            Engagement details     Attorney-Client Privilege                            27R6107       B&F 0001180 - B&F 0001183
     234   11/25/2015 9:22 AM   CORRESP          Re: Information Needed/Engagement of our Law Firm                 coo@procall.com    Amy Watson                                                                                                                                         MSG            Engagement details     Attorney-Client Privilege                            27R6106       B&F 0001177 - B&F 0001179
     233 11/25/2015 11:28 AM    CONFLICT         5604.001 New Client info - with billing rate                      TC                 Bailey Higgins                                                                                                                                     MSG            Engagement details     Work Product Doctrine                                27R5833       B&F 0001175 - B&F 0001176
     232 11/25/2015 11:42 AM    CONFLICT         5604.001 Conflict Check                                           BAH                firm                                                                                                                                               MSG            Engagement details     Work Product Doctrine                                27R5830       B&F 0001162 - B&F 0001174
     231   11/25/2015 3:30 PM   CORRESP          RE: Information Needed/Engagement of our Law Firm                 Amy Watson         Les Stockett                                                                                                                                       MSG            Engagement details     Attorney-Client Privilege                            27R6120       B&F 0001158 - B&F 0001161
     229 11/30/2015 11:53 AM    CASEMAN          Conflict Check- (5604.001-Telehealth Doctors Network, LLC)        Teresa Contreras   Beverly Folkerts                                                                                                                                   MSG            Engagement details     Work Product Doctrine                                27R8033       B&F 0001156
     230 11/30/2015 11:53 AM    CONFLICT         5604.001 Request to CHANGE Client Name                            Teresa Contreras   Beverly Folkerts                                                                                                                                   MSG            Engagement details     Work Product Doctrine                                27R8677       B&F 0001157
     228 11/30/2015 11:56 AM    FORM             Engagement Ltr (STANDARD LONG FORM)                               Jeff Baird         Les Stockett                                                                                                                                       DOC            Engagement details     Attorney-Client Privilege                            27R7959       B&F 0001150 - B&F 0001155
     227 11/30/2015 11:57 AM    FORM             BUSINESS ASSOCIATE AGREEMENT (BAA)                                TC                 Less Stockett                                                                                                                                      DOC            Engagement details     Attorney-Client Privilege                            27R7994       B&F 0001146 - B&F 0001149
     226 11/30/2015 12:02 PM    CORRESP          Engagement Documents- Health Care Regulatory                      Teresa Contreras   admin@videodocctorusa.com                            Jeff Baird; coo@procall.com                                                                   MSG            Engagement details     Attorney-Client Privilege                            27R8080       B&F 0001133 - B&F 0001145
     225   12/01/2015 8:26 AM   CORRESP          Re: Engagement Documents- Health Care Regulatory                  Les Stockett       Teresa Contreras                                     Jeff Baird; invoices@videodoctorusa.com; coo@procall.com; Gessica Vargas                      MSG            Engagement details     Attorney-Client Privilege                            27R9991       B&F 0001119 - B&F 0001132
     224 12/01/2015 12:30 PM    ENGAGELTR        SIGNED Engagement Letter                                          Les Stockett       Jeff Baird                                                                                                                                         PDF            Engagement details     Attorney-Client Privilege                            27S0564       B&F 0001113 - B&F 0001118
     223   12/01/2015 1:56 PM   AGREEMENT        FULLY EXECUTED BAA                                                Les Stockett/JSB   Jeff Baird                                                                                                                                         PDF            Engagement details     Attorney-Client Privilege                            27S0794       B&F 0001109 - B&F 0001112
     222   12/01/2015 2:23 PM   CORRESP          RE: Engagement Documents-Health Care Regulatory                   Teresa Contreras   Gay Yocum                                            Les Stockett; Jeff Baird; coo@procall.com; Gessica                                            MSG            Engagement details     Attorney-Client Privilege                            27S0889       B&F 0001104 - B&F 0001108
     221   12/02/2015 8:08 AM   CORRESP          1st Question                                                      Les Stockett       Teresa Contreras                                     Gay Yocum; Jeff Baird; getmymailhere2003; Gessica                                             MSG            Legal advice           Attorney-Client Privilege                            27S3032       B&F 0001101 - B&F 0001103
     220 12/02/2015 11:19 AM    CORRESP          Retainer                                                          Teresa Contreras   Gay Yocum                                            Les Stockett; Jeff Baird; coo@procall.com                                                     MSG            Engagement details     Attorney-Client Privilege                            27S2991       B&F 0001100
     219   12/08/2015 3:09 PM   CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           Creag Harry                                                                                   MSG            Legal advice           Attorney-Client Privilege                            27T1248       B&F 0001097 - B&F 0001099
     218   12/08/2015 3:18 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Legal advice           Attorney-Client Privilege                            27T1285       B&F 0001094 - B&F 0001096
     217   12/08/2015 7:13 PM   CORRESP          Existing Business Model/Issues to be Addressed                    Jeff Baird         Les Stockett; Creag Harry                            Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27T1912       B&F 0001090 - B&F 0001093
     216   12/09/2015 4:27 AM   CORRESP          Re: Existing Business Model/Issues to be Addressed                Les Stockett       Jeff Baird                                           Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Legal advice           Attorney-Client Privilege                            27T1922       B&F 0001084 - B&F 0001089
     215   12/10/2015 4:29 PM   CORRESP          Re: Existing Business Model/Issues to be Addressed                Les Stockett       Jeff Baird                                           Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Legal advice           Attorney-Client Privilege                            27T6304       B&F 0001077 - B&F 0001083
     214 12/11/2015 10:05 AM    CORRESP          Re: Existing Business Model/Issues to be Addressed                coo@procall.com    Jeff Baird                                           Les Stockett; Amy Watson; Teresa Contreras; marketing@videodoctorusa.com                      MSG            Legal advice           Attorney-Client Privilege                            27T6930       B&F 0001073 - B&F 0001076
     213 12/11/2015 11:30 AM    CORRESP          RE: Existing Business Model/Issues to be Addressed                Amy Watson         coo@procall.com                                      Les Stockett; Teresa Contreras; marketing@videodoctorusa.com; Jeff Baird                      MSG            Case administration    Attorney-Client Privilege                            27T7597       B&F 0001069 - B&F 0001072
     212   12/23/2015 9:02 AM   BILL             Bill#67368                                                        MAP                Telehealth Doctors Network, LLC Attn: Les Stockett                                                                                                 PDF            Case administration    Attorney-Client Privilege                            27T3902       B&F 0001068
     211 01/05/2016 11:13 AM    CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Case administration    Attorney-Client Privilege                            27X1162       B&F 0001063 - B&F 0001067
     210 01/05/2016 12:52 PM    CORRESP          Re: 1st Question                                                  ch@procall.com     Les Stockett; Jeff Baird                             Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege                            27X1169       B&F 0001059 - B&F 0001062
     209   01/05/2016 3:36 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         ch@procall.com; Les Stockett                         Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27X1192       B&F 0001055 - B&F 0001058
     208   01/06/2016 6:59 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         ch@procall.com; Les Stockett                         Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege                            27X0866       B&F 0001050 - B&F 0001054
     207   01/07/2016 6:38 PM   CORRESP          Letter to Les Stockett Re: Current Business Model                 JSB                Les Stockett                                         Creag Harry                                                                                   DOC            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27X0212       B&F 0001045 - B&F 0001049
     206   01/07/2016 6:42 PM   CORRESP          Current Business Model                                            Amy Watson         Les Stockett                                         Jeff Baird; coo@procall.com                                                                   MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27X0460       B&F 0001044
     205   01/08/2016 8:03 AM   CORRESP          Re: Current Business Model                                        Les Stockett       Amy Watson                                           Jeff Baird; coo@procall.com                                                                   MSG            Case administration    Attorney-Client Privilege                            27X0602       B&F 0001042 - B&F 0001043
     204   01/08/2016 8:54 AM   CORRESP          RE: Current Business Model                                        Amy Watson         Les Stockett                                         Jeff Baird; coo@procall.com                                                                   MSG            Case administration    Attorney-Client Privilege                            27X0601       B&F 0001040 - B&F 0001041
     203   01/08/2016 8:55 AM   CORRESP          RE: Current Business Model                                        Amy Watson         Les Stockett                                         Jeff Baird; coo@procall.com                                                                   MSG            Case administration    Attorney-Client Privilege                            27X0604       B&F 0001038 - B&F 0001039
     202   01/08/2016 8:56 AM   CORRESP          Prior Opinion Letter                                              Jeff Baird         Les Stockett                                                                                                                                       MSG            Legal advice           Attorney-Client Privilege                            27X0639       B&F 0001035 - B&F 0001037
     201   01/08/2016 8:57 AM   CORRESP          Conference Call with Jeff Baird                                   Amy Watson         admin@videodocctorusa.com; coo@procall.com                                                                                                         MSG            Case administration    Attorney-Client Privilege                            27X0608       B&F 0001034
     200   01/08/2016 9:42 AM   CORRESP          Re: Prior Opinion Letter                                          coo@procall.com    Jeff Baird                                           Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27X0798       B&F 0001031 - B&F 0001033
     199 01/08/2016 10:29 AM    CORRESP          RE: Prior Opinion Letter                                          Jeff Baird         coo@procall.com                                      Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27X0963       B&F 0001026 - B&F 0001030
     198   01/14/2016 8:30 AM   CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            27X9391       B&F 0001019 - B&F 0001025
     197   01/14/2016 9:25 AM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27X9435       B&F 0001014 - B&F 0001018
     196 01/14/2016 10:10 AM    CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            27X9585       B&F 0001006 - B&F 0001013
     195   01/14/2016 2:27 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27Y0136       B&F 0000999 - B&F 0001005
     194   01/14/2016 3:08 PM   CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            27Y0210       B&F 0000989 - B&F 0000998
     193   01/14/2016 3:46 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            27Y0402       B&F 0000982 - B&F 0000988
     192   01/15/2016 7:42 AM   CORRESP          Re: 1st Question                                                  My Email Box       Jeff Baird                                           Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27Y0926       B&F 0000974 - B&F 0000981
     191   01/15/2016 8:44 AM   CORRESP          RE: 1st Question                                                  Jeff Baird         My Email Box                                         Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27Y0949       B&F 0000966 - B&F 0000973
     190   01/18/2016 5:35 PM   CORRESP          article in Medtrade                                               ch@procall.com     Jeff Baird; admin@videodoctorusa.com                                                                                                               MSG            Legal advice           Attorney-Client Privilege                            27Y4704       B&F 0000964 - B&F 0000965
     189   01/18/2016 5:58 PM   CORRESP          one additional thought                                            ch@procall.com     Jeff Baird; admin@videodoctorusa.com                                                                                                               MSG            Legal advice           Attorney-Client Privilege                            27Y4707       B&F 0000963
     188 01/20/2016 10:25 AM    CORRESP          Fwd: One purpose test                                             coo@procall.com    Jeff Baird                                           admin@videodoctorusa.com                                                                      MSG            Legal advice           Attorney-Client Privilege                            27Y7520       B&F 0000960 - B&F 0000962
     187   01/20/2016 1:03 PM   CORRESP          RE: article in Medtrade                                           Jeff Baird         ch@procall.com; admin@videodoctorusa.com             Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege                            27Y9287       B&F 0000958 - B&F 0000959
     186   01/20/2016 5:10 PM   CORRESP          RE: article in Medtrade                                           Jeff Baird         ch@procall.com; admin@videodoctorusa.com             Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege                            27Y9508       B&F 0000956 - B&F 0000957
     185   01/20/2016 7:32 PM   CORRESP          RE: article in Medtrade                                           Jeff Baird         ch@procall.com; admin@videodoctorusa.com             Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27Y9536       B&F 0000951 - B&F 0000955
     184 01/22/2016 12:28 PM    CORRESP          Re: 1st Question                                                  Les Stockett       Jeff Baird                                           My Email Box; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27Z2609       B&F 0000939 - B&F 0000950
     183   01/22/2016 6:03 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         My Email Box; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27Z3668       B&F 0000930 - B&F 0000938
     182   01/24/2016 9:43 AM   CASEMAN          FW: Consulting Services: Medicare Advantage Plans                 Jeff Baird         Bradley Cook                                         Janet Taylor; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Work Product Doctrine                                27Z3794       B&F 0000928 - B&F 0000929
     181   01/24/2016 2:35 PM   CORRESP          RE: 1st Question                                                  Jeff Baird         Les Stockett                                         My Email Box; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27Z3832       B&F 0000916 - B&F 0000927
     180   01/24/2016 7:09 PM   CASEMAN          RE: Consulting Services: Medicare Advantage Plans                 Bradley Cook       Jeff Baird                                           Janet Taylor; Amy Watson; Teresa Contreras                                                    MSG            Legal research         Work Product Doctrine                                27Z3856       B&F 0000874 - B&F 0000915
     179   01/24/2016 7:16 PM   CORRESP          Requested cases                                                   Jeff Baird         Les Stockett; My Email Box                           Amy Watson; Teresa Contreras                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   27Z3860       B&F 0000832 - B&F 0000873
     178   01/24/2016 8:14 PM   CORRESP          Re: 1st Question                                                  coo@procall.com    Jeff Baird                                           Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            27Z3864       B&F 0000818 - B&F 0000831
     177   01/25/2016 7:10 AM   CORRESP          Fwd: one additional thought                                       coo@procall.com    Jeff Baird; admin@videodoctorusa.com                                                                                                               MSG            Legal advice           Attorney-Client Privilege                            27Z3869       B&F 0000817
     176 01/25/2016 12:59 PM    CORRESP          RE: one additional thought                                        Jeff Baird         coo@procall.com; admin@videodoctorusa.com            Amy Watson; Teresa Contreras                                                                  MSG            Case administration    Attorney-Client Privilege                            27Z4950       B&F 0000815 - B&F 0000816
     175   01/25/2016 1:28 PM   CORRESP          Re: one additional thought                                        coo@procall.com    Jeff Baird; admin@videodoctorusa.com                 Amy Watson; Teresa Contreras                                                                  MSG            Case administration    Attorney-Client Privilege                            27Z4952       B&F 0000812 - B&F 0000814
     174   01/25/2016 1:43 PM   CORRESP          RE: one additional thought                                        Jeff Baird         coo@procall.com; admin@videodoctorusa.com            Amy Watson                                                                                    MSG            Case administration    Attorney-Client Privilege                            27Z4954       B&F 0000809 - B&F 0000811
     173   01/25/2016 1:53 PM   CORRESP          Conference Call with Jeff Baird                                   Amy Watson         coo@procall.com; admin@videodoctorusa.com                                                                                                          MSG            Case administration    Attorney-Client Privilege                            27Z4944       B&F 0000808
     172 01/26/2016 11:51 AM    CORRESP          RE: one additional thought                                        Amy Watson         coo@procall.com; admin@videodoctorusa.com            Teresa Contreras; Jeff Baird                                                                  MSG            Case administration    Attorney-Client Privilege                            27Z6700       B&F 0000805 - B&F 0000807
     171 01/26/2016 12:08 PM    CORRESP          Re: Conference Call with Jeff Baird                               ch laptop          Amy Watson                                           coo@procall.com; admin@videodoctoorusa.com; Jeff Baird                                        MSG            Case administration    Attorney-Client Privilege                            27Z6922       B&F 0000803 - B&F 0000804
     170 01/26/2016 12:10 PM    CORRESP          Re: Conference Call with Jeff Baird                               ch laptop          Amy Watson                                           admin@videodoctorusa.com; coo@procall.com; Jeff Baird                                         MSG            Case administration    Attorney-Client Privilege                            27Z6923       B&F 0000801 - B&F 0000802
     168 01/26/2016 12:31 PM    CORRESP          RE: Conference Call with Jeff Baird                               Amy Watson         ch laptop                                            admin@videodoctorusa.com; coo@procall.com; Jeff Baird                                         MSG            Case administration    Attorney-Client Privilege                            27Z6806       B&F 0000796 - B&F 0000797
     169 01/26/2016 12:31 PM    CORRESP          Re: one additional thought                                        coo@procall.com    ch laptop                                            admin@videodoctorusa.com; coo@procall.com; Jeff Baird                                         MSG            Case administration    Attorney-Client Privilege                            27Z6954       B&F 0000798 - B&F 0000800
     167 01/26/2016 12:33 PM    CORRESP          RE: one additional thought                                        Amy Watson         coo@procall.com; admin@videodoctorusa.com            Teresa Contreras; Jeff Baird                                                                  MSG            Case administration    Attorney-Client Privilege                            27Z6811       B&F 0000792 - B&F 0000795
     166   01/26/2016 1:39 PM   CORRESP          Conference call this week                                         ch laptop          Amy Watson                                           admin@videodoctorusa.com; Teresa Contreras; Jeff Baird                                        MSG            Case administration    Attorney-Client Privilege                            27Z6957       B&F 0000788 - B&F 0000791
     165   01/26/2016 1:43 PM   CORRESP          RE: Conference call this week                                     Amy Watson         ch laptop                                            admin@videodoctorusa.com; Teresa Contreras; Jeff Baird                                        MSG            Case administration    Attorney-Client Privilege                            27Z6917       B&F 0000784 - B&F 0000787
     164   01/26/2016 2:51 PM   CORRESP          Re: Conference call this week                                     coo@procall.com    Amy Watson                                           admin@videodoctorusa.com; Teresa Contreras; Jeff Baird                                        MSG            Case administration    Attorney-Client Privilege                            27Z7542       B&F 0000780 - B&F 0000783
     163   01/26/2016 2:58 PM   CORRESP          Re: Conference call this week                                     Les Stockett       Amy Watson                                           ch laptop; Teresa Contreras; Jeff Baird                                                       MSG            Case administration    Attorney-Client Privilege                            27Z8747       B&F 0000775 - B&F 0000779
     162   01/26/2016 3:36 PM   CORRESP          RE: Conference call this week                                     Amy Watson         coo@procall.com                                      admin@videodoctorusa.com; Teresa Contreras; Jeff Baird                                        MSG            Case administration    Attorney-Client Privilege                            27Z7539       B&F 0000771 - B&F 0000774
     161   01/28/2016 3:03 PM   CORRESP          rozelie@ozelielaw.com                                             lesdtl@gmail.com   Jeff Baird                                                                                                                                         MSG            Case administration    Attorney-Client Privilege                            2801720       B&F 0000770
     160   01/31/2016 2:22 PM   BILL             Bill#68322                                                        MAP                Telehealth Doctors Network, LLC Attn: Les Stockett                                                                                                 PDF            Case administration    Attorney-Client Privilege                            27X3405       B&F 0000769
     159   02/01/2016 8:40 AM   CORRESP          Followup                                                          lesdtl@gmail.com   Jeff Baird                                           Creag Harry                                                                                   MSG            Legal advice           Attorney-Client Privilege                            2805082       B&F 0000768
     158 02/04/2016 11:04 AM    CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           Creag Harry                                                                                   MSG            Legal advice           Attorney-Client Privilege                            2812429       B&F 0000766 - B&F 0000767
     157 02/04/2016 11:14 AM    CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            2812431       B&F 0000764 - B&F 0000765
     156   02/08/2016 7:38 AM   CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            2815984       B&F 0000760 - B&F 0000763
     155   02/09/2016 7:55 AM   CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            2817856       B&F 0000755 - B&F 0000759
     154   02/09/2016 8:12 AM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege                            2817867       B&F 0000750 - B&F 0000754
     153   02/09/2016 2:07 PM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Legal advice           Attorney-Client Privilege                            2818755       B&F 0000748 - B&F 0000749
     152   02/09/2016 6:05 PM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         Creag Harry; Amy Watson; Teresa Contreras                                                     MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2819741       B&F 0000745 - B&F 0000747
     151   02/09/2016 9:31 PM   CORRESP          Re: Followup                                                      Ch@procall.com     Jeff Baird                                           Les Stockett; Creag Harry; Amy Watson; Teresa Contreras                                       MSG            Legal advice           Attorney-Client Privilege                            2819752       B&F 0000740 - B&F 0000744
     150   02/10/2016 5:48 AM   CORRESP          Re: Followup.                                                     lesdtl@gmail.com   ch@procall.com                                       Jeff Baird; Amy Watson; Teresa Contreras                                                      MSG            Legal advice           Attorney-Client Privilege                            2819761       B&F 0000733 - B&F 0000739
     149   02/10/2016 7:08 AM   CORRESP          Re: Followup                                                      coo@procall.com    ch@procall.com                                       Jeff Baird; Les Stockett; Amy Watson; Teresa Contreras; Richard Ozelie                        MSG            Legal advice           Attorney-Client Privilege                            2819762       B&F 0000728 - B&F 0000732
     148   02/10/2016 8:22 AM   CORRESP          RE: Followup                                                      Jeff Baird         coo@procall.com                                      Les Stockett; Richard Ozelie; Amy Watson; Teresa Contreras                                    MSG            Legal advice           Attorney-Client Privilege                            2819775       B&F 0000721 - B&F 0000727
     147   02/10/2016 8:27 AM   CORRESP          RE: Followup.                                                     Jeff Baird         Les Stockett                                         ch@procall.com; Amy Watson; Teresa Contreras                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2819779       B&F 0000715 - B&F 0000720
     146   02/10/2016 8:48 AM   CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           coo@procall.com; Creag Harry; Richard Ozelie; Amy Watson; Teresa Contreras                    MSG            Legal advice           Attorney-Client Privilege                            2819798       B&F 0000706 - B&F 0000714
     145   02/10/2016 9:20 AM   CORRESP          Re: Followup                                                      coo@procall.com    Jeff Baird                                           ch@procall.com; Les Stockett; Richard Ozelie; Amy Watson; Teresa Contreras                    MSG                                   Attorney-Client Privilege                            2819848       B&F 0000705
     144   02/10/2016 9:54 AM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         coo@procall.com; Creag Harry; Richard Ozelie; Amy Watson; Teresa Contreras                    MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2820159       B&F 0000697 - B&F 0000704
     143 02/10/2016 11:21 AM    CORRESP          RE: Followup                                                      Jeff Baird         coo@procall.com                                                                                                                                    MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2820422       B&F 0000695 - B&F 0000696
     142 02/10/2016 11:37 AM    CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras                 MSG            Legal advice           Attorney-Client Privilege                            2820505       B&F 0000691 - B&F 0000694
     141 02/10/2016 12:41 PM    CORRESP          RE: Followup                                                      Jeff Baird         coo@procall.com                                      Les Stockett; coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras   MSG            Legal advice           Attorney-Client Privilege                            2821293       B&F 0000687 - B&F 0000690
     140   02/10/2016 1:22 PM   CORRESP          Re: Followup                                                      coo@procall.com    Jeff Baird                                           Les Stockett; coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras   MSG            Legal advice           Attorney-Client Privilege                            2821300       B&F 0000683 - B&F 0000686
     139   02/10/2016 5:10 PM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras                 MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2821454       B&F 0000678 - B&F 0000682
     138   02/11/2016 8:01 AM   CORRESP          RE: Followup                                                      Jeff Baird         Les Stockett                                         coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras                 MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2821510       B&F 0000673 - B&F 0000677
     137   02/11/2016 9:17 AM   CORRESP          Re: Followup                                                      lesdtl@gmail.com   Jeff Baird                                           coo@procall.com; ch@procall.com; Richard Ozelie; Amy Watson; Teresa Contreras                 MSG            Legal advice           Attorney-Client Privilege                            2821700       B&F 0000665 - B&F 0000672
     136   02/19/2016 7:29 AM   CORRESP          Procedure                                                         coo@procall.com    Jeff Baird; Les Stockett; Richard Ozelie                                                                                                           MSG            Legal advice           Attorney-Client Privilege                            2838872       B&F 0000664
     135   02/27/2016 9:15 AM   CORRESP          Re: Requested cases                                               coo@procall.com    Jeff Baird                                           Les Stockett; Amy Watson; Teresa Contreras                                                    MSG            Legal advice           Attorney-Client Privilege                            2846677       B&F 0000662 - B&F 0000663
     134   02/27/2016 3:46 PM   CORRESP          Re: Requested cases.                                              Les Stockett       Jeff Baird                                           Amy Watson; Teresa Contreras; Gerardo Hernandez; Rick Ozzeli                                  MSG            Legal advice           Attorney-Client Privilege                            2846687       B&F 0000658 - B&F 0000661
     133   02/28/2016 3:18 PM   CORRESP          Re: Procedure                                                     Jeff Baird         coo@procall.com                                      Les Stockett; admin@videodoctorusa.com; Richard Ozelie                                        MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846696       B&F 0000656 - B&F 0000657
     132   02/28/2016 5:34 PM   CORRESP          Re: Requested cases                                               Jeff Baird         coo@procall.com                                      Les Stockett                                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846700       B&F 0000652 - B&F 0000655
     131   02/28/2016 6:24 PM   CORRESP          Fwd: Requested cases                                              Jeff Baird         coo@procall.com                                                                                                                                    MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846706       B&F 0000648 - B&F 0000651
     130   02/28/2016 6:50 PM   CORRESP          Re: Requested cases                                               coo@procall.com    Jeff Baird                                                                                                                                         MSG            Legal advice           Attorney-Client Privilege                            2846707       B&F 0000644 - B&F 0000647
     129   02/28/2016 7:04 PM   CORRESP          Re: Requested cases.                                              Jeff Baird         Les Stockett                                         Gerardo Hernandez; Rick Ozzeli; coo@procall.com                                               MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846709       B&F 0000637 - B&F 0000643
     128   02/28/2016 7:08 PM   CORRESP          Re: Requested cases                                               Jeff Baird         coo@procall.com                                      Les Stockett; Richard Ozelie                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846713       B&F 0000632 - B&F 0000636
     127   02/29/2016 5:45 AM   CORRESP          Fwd: Convictions under the Anti Kickback Law                      lesdtl@gmail.com   Jeff Baird                                                                                                                                         MSG            Legal advice           Attorney-Client Privilege                            2846794       B&F 0000627 - B&F 0000631
     126   02/29/2016 5:57 AM   CORRESP          Reply to your BOLD Re: Requested cases.                           Les Stockett       Jeff Baird                                                                                                                                         MSG            Legal advice           Attorney-Client Privilege                            2846797       B&F 0000619 - B&F 0000626
     125   02/29/2016 7:07 AM   CORRESP          Re: Convictions under the Anti Kickback Law                       Jeff Baird         Les Stockett                                                                                                                                       MSG            Legal advice           Attorney-Client Privilege                            2846799       B&F 0000614 - B&F 0000618
     124   02/29/2016 7:13 AM   CORRESP          Re: Reply to your BOLD Re: Requested cases.                       Jeff Baird         Les Stockett                                         Gerardo Hernandez; Rick Ozzeli; coo@procall.com                                               MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2846801       B&F 0000605 - B&F 0000613
     123   02/29/2016 7:19 AM   CASEMAN          Video Doctors/Stockett                                            Jeff Baird         Michele Tran                                         Lisa Smith; Janet Taylor                                                                      MSG            Legal research         Work Product Doctrine                                2846803       B&F 0000604
     122   02/29/2016 9:04 AM   CORRESP          Fwd: Legal Opinion Fwd: Convictions under the Anti Kickback Law   lesdtl@gmail.com   Jeff Baird                                                                                                                                         MSG            Legal advice           Attorney-Client Privilege                            2846866       B&F 0000596 - B&F 0000603
     121   02/29/2016 9:09 AM   CORRESP          Re: Legal Opinion Fwd: Convictions under the Anti Kickback Law    Jeff Baird         Les Stockett                                                                                                                                       MSG            Legal advice           Attorney-Client Privilege                            2846868       B&F 0000589 - B&F 0000595
     120   02/29/2016 9:17 AM   CASEMAN          RE: Video Doctors/Stockett                                        Michele Tran       Jeff Baird                                           Lisa Smith                                                                                    MSG            Legal research         Work Product Doctrine                                2846879       B&F 0000587 - B&F 0000588
     119 02/29/2016 10:30 AM    BILL             Bill#68940                                                        MAP                Telehealth Doctors Network, LLC Attn: Les Stockett                                                                                                 PDF            Case administration    Attorney-Client Privilege                            2823460       B&F 0000585 - B&F 0000586
     118   03/15/2016 3:28 PM   CORRESP          Denise - Process Audit                                            lesdtl@gmail.com   Jeff Baird                                           Creag Harry                                                                                   MSG            Legal advice           Attorney-Client Privilege                            2873103       B&F 0000584
     117 03/17/2016 10:06 AM    CORRESP          Fwd: follow up                                                    lesdtl@gmail.com   Jeff Baird                                                                                                                                         MSG            Case administration    Attorney-Client Privilege                            2874475       B&F 0000582 - B&F 0000583
     116 03/17/2016 10:36 AM    CORRESP          RE: follow up                                                     Teresa Contreras   Les Stockett                                         Jeff Baird; Denise Leard                                                                      MSG            Case administration    Attorney-Client Privilege                            2874539       B&F 0000580 - B&F 0000581
     115 03/17/2016 10:55 AM    CORRESP          Re: follow up                                                     lesdtl@gmail.com   Teresa Contreras                                     Jeff Baird; Denise Leard                                                                      MSG            Legal advice           Attorney-Client Privilege                            2874696       B&F 0000575 - B&F 0000579
     114 03/17/2016 12:00 PM    CORRESP          RE: follow up                                                     Amy Watson         Les Stockett                                         Jeff Baird                                                                                    MSG            Case administration    Attorney-Client Privilege                            2874695       B&F 0000570 - B&F 0000574
     113 03/17/2016 12:08 PM    CORRESP          RE: follow up                                                     Teresa Contreras   Les Stockett                                         Jeff Baird; Denise Leard                                                                      MSG            Case administration    Attorney-Client Privilege                            2874707       B&F 0000565 - B&F 0000569
     112   03/17/2016 1:58 PM   CORRESP          Mon 11.30 East / 10.30 Central - Call w Jeff (Texas)              lesdtl@gmail.com   Amy Watson                                           Jeff Baird                                                                                    MSG            Case administration    Attorney-Client Privilege                            2874843       B&F 0000558 - B&F 0000564
     111   03/17/2016 2:07 PM   CORRESP          Re: Mon 11.30 East / 10.30 Central - Call w Jeff (Texas)..        lesdtl@gmail.com   Amy Watson                                                                                                                                         MSG            Case administration    Attorney-Client Privilege                            2874953       B&F 0000550 - B&F 0000557
     110   03/17/2016 3:31 PM   CASEMAN          5604.001-Telehealth Doctors Network, LLC d/b/a Video Doctors      Teresa Contreras   Monty Pritchett                                                                                                                                    MSG            Case administration    Work Product Doctrine                                2875060       B&F 0000549
     109   03/17/2016 3:47 PM   CORRESP          Telephone Call                                                    Jeff Baird         Les Stockett                                         Denise Leard                                                                                  MSG            Legal advice           Attorney-Client Privilege;   Work Product Doctrine   2875404       B&F 0000541 - B&F 0000548
     108   03/17/2016 4:25 PM   CORRESP          RE: follow up                                                     Amy Watson         Les Stockett                                                                                                                                       MSG            Case administration    Attorney-Client Privilege                            2875439       B&F 0000538 - B&F 0000540
     107   03/17/2016 5:11 PM   CORRESP          Re: follow up                                                     lesdtl@gmail.com   Amy Watson                                           Jeff Baird; Denise Leard; Teresa Contreras                                                    MSG            Case administration    Attorney-Client Privilege                            2875552       B&F 0000533 - B&F 0000537
                                                                Case 2:19-cr-00246-MCA Document 232-1 Filed 12/09/21 Page 3 of 3 PageID: 2835

106    03/17/2016 5:19 PM   CORRESP      RE: follow up                                                              Amy Watson          Les Stockett                                           Jeff Baird; Denise Leard; Teresa Contreras      MSG    Case administration     Attorney-Client Privilege;   Work Product Doctrine     2875551   B&F 0000529 - B&F 0000532
105    03/18/2016 4:31 AM   CORRESP      Mon 3.30pm East Jeff - VDUSA                                               lesdtl@gmail.com    Amy Watson                                             Jeff Baird; Denise Leard; Teresa Contreras      MSG    Case administration     Attorney-Client Privilege                              2877916   B&F 0000524 - B&F 0000528
104   03/18/2016 11:53 AM   CORRESP      Fwd: link to telehealth bills in congress                                  James Rulison       Denise Leard; Joyce Cox                                                                                MSG    Legal advice            Attorney-Client Privilege                              28G5835   B&F 0000523
103   03/21/2016 10:42 AM   CORRESP      Invitation: 1.15 EAST VDUSA - Jeff Biz Model Call @ Mon Mar 21, 2016 1     Les Stockett        Jeff Baird; getmymailhere2003                                                                          MSG    Case administration     Attorney-Client Privilege                              2877844   B&F 0000521 - B&F 0000522
102   03/21/2016 10:45 AM   CORRESP      Accepted: Invitation: 1.15 EAST VDUSA - Jeff Biz Model Call @ Mon Mar      Amy Watson          Les Stockett                                                                                           MSG    Case administration     Attorney-Client Privilege                              2877843   B&F 0000520
101   03/21/2016 11:53 AM   CORRESP      Updated Invitation: 1.30 EAST VDUSA - Jeff Biz Model Call @ Mon Mar 21     Les Stockett        Jeff Baird                                                                                             MSG    Case administration     Attorney-Client Privilege                              2878243   B&F 0000518 - B&F 0000519
100   03/21/2016 12:04 PM   CORRESP      "Go Forward" Steps                                                         Jeff Baird          Les Stockett; Creag Harry                                                                              MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     2878260   B&F 0000515 - B&F 0000517
 99   03/21/2016 12:11 PM   CORRESP      Accepted: Updated Invitation: 1.30 EAST VDUSA - Jeff Biz Model Call @      Amy Watson          Les Stockett                                                                                           MSG    Case administration     Attorney-Client Privilege                              2878242   B&F 0000514
 98   03/21/2016 12:19 PM   CORRESP      Re: "Go Forward" Steps                                                     lesdtl@gmail.com    Jeff Baird                                                                                             MSG    Legal advice            Attorney-Client Privilege                              2878262   B&F 0000510 - B&F 0000513
 97    03/21/2016 2:23 PM   CORRESP      Re: "Go Forward" Steps                                                     lesdtl@gmail.com    Jeff Baird                                             ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              2878629   B&F 0000504 - B&F 0000509
 96    03/21/2016 3:21 PM   CORRESP      RE: follow up                                                              Denise Leard        Les Stockett                                                                                           MSG    Legal advice            Attorney-Client Privilege                              2884673   B&F 0000499 - B&F 0000503
 91    03/22/2016 4:37 AM   ATTACH       test print.pdf (Attach_7) Re: follow up                                    lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   PDF    Legal advice            Attorney-Client Privilege                              2887282   B&F 0000489 - B&F 0000494
 92    03/22/2016 4:37 AM   ATTACH       image010.png (Attach_6) Re: follow up                                      lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   PNG    Legal advice            Attorney-Client Privilege                              2887283   B&F 0000495
 93    03/22/2016 4:37 AM   ATTACH       image005.png (Attach_4) Re: follow up                                      lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   PNG    Legal advice            Attorney-Client Privilege                              2887285   B&F 0000496
 94    03/22/2016 4:37 AM   ATTACH       image008.png (Attach_3) Re: follow up                                      lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   PNG    Legal advice            Attorney-Client Privilege                              2887286   B&F 0000497
 95    03/22/2016 4:37 AM   ATTACH       image009.png (Attach_1) Re: follow up                                      lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   PNG    Legal advice            Attorney-Client Privilege                              2887288   B&F 0000498
 90    03/22/2016 4:37 AM   CORRESP      Re: follow up                                                              lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   MSG    Legal advice            Attorney-Client Privilege                              2887279   B&F 0000467 - B&F 0000488
 89    03/30/2016 5:40 AM   CORRESP      Re: follow up.                                                             lesdtl@gmail.com    Denise Leard                                           Teresa Contreras; Jeff Baird;   Creag   Harry   MSG    Legal advice            Attorney-Client Privilege                              2892282   B&F 0000459 - B&F 0000466
 87    03/30/2016 5:42 AM   CORRESP      Re: follow up.                                                             lesdtl@gmail.com    Jeff Baird                                             ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28A4938   B&F 0000445 - B&F 0000452
 88    03/30/2016 5:42 AM   CORRESP      Re: "Go Forward" Steps                                                     lesdtl@gmail.com    Jeff Baird                                             ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              2892284   B&F 0000453 - B&F 0000458
 85    03/30/2016 6:53 AM   CASEMAN      FW: follow up.                                                             Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28A4943   B&F 0000431 - B&F 0000437
 86    03/30/2016 6:53 AM   CORRESP      RE: "Go Forward" Steps                                                     Jeff Baird          Les Stockett                                                                                           MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     2892289   B&F 0000438 - B&F 0000444
 84    03/30/2016 7:13 AM   CASEMAN      RE: follow up.                                                             Jeff Baird          Denise Leard                                           Janet Taylor                                    MSG    Case administration     Work Product Doctrine                                  28A4950   B&F 0000422 - B&F 0000430
 83    03/30/2016 7:40 AM   CASEMAN      RE: follow up.                                                             Jeff Baird          Denise Leard                                           Teresa Contreras; Janet Taylor                  MSG    Case administration     Work Product Doctrine                                  28A4951   B&F 0000412 - B&F 0000421
 82    03/30/2016 5:11 PM   CORRESP      RE: follow up.                                                             Denise Leard        Les Stockett                                           Creag Harry                                     MSG    Legal advice            Attorney-Client Privilege                              28I0064   B&F 0000405 - B&F 0000411
 81    03/31/2016 8:55 AM   BILL         Bill#69896                                                                 MAP                 Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              2865068   B&F 0000403 - B&F 0000404
 80    03/31/2016 8:47 PM   CORRESP      RE: "Go Forward" Steps                                                     Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              2897463   B&F 0000396 - B&F 0000402
 79    04/01/2016 7:12 PM   CORRESP      "Go Forward" Steps                                                         Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28A0830   B&F0000389 - B&F 0000395
 78    04/02/2016 8:19 AM   ATTACH       Procall - Master BPO Agreement .docx (Attach_3) Re: "Go Forward" Steps     lesdtl@gmail.com    Jeff Baird                                                                                             DOCX   Legal advice            Attorney-Client Privilege                              28A0954   B&F 0000379 - B&F 0000388
 77    04/02/2016 8:19 AM   CORRESP      Re: "Go Forward" Steps                                                     lesdtl@gmail.com    Jeff Baird                                             ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28A0953   B&F 0000360 - B&F 0000378
 76    04/08/2016 5:01 PM   CORRESP      FW: "Go Forward" Steps                                                     Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28B2552   B&F 0000349 - B&F 0000359
 75    04/08/2016 5:02 PM   CORRESP      RE: "Go Forward" Steps                                                     Jeff Baird          Les Stockett                                           Creag Harry                                     MSG    Legal advice            Attorney-Client Privilege                              28B2549   B&F 0000342 - B&F 0000348
 74   04/12/2016 10:37 AM   CORRESP      Re: "Go Forward" Steps                                                     lesdtl@gmail.com    Jeff Baird                                             Creag Harry                                     MSG    Legal advice            Attorney-Client Privilege                              28B7356   B&F 0000332 - B&F 0000341
 73   04/12/2016 10:38 AM   CORRESP      Re: follow up.                                                             lesdtl@gmail.com    Denise Leard                                           Creag Harry                                     MSG    Legal advice            Attorney-Client Privilege                              28B7334   B&F 0000321 - B&F 0000331
 72   04/13/2016 10:52 AM   CORRESP      Re: "Go Forward" Steps                                                     Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28C0126   B&F 0000311 - B&F 0000320
 71    04/15/2016 5:32 PM   CORRESP      Re: "Go Forward" Steps ?                                                   lesdtl@gmail.com    Jeff Baird                                                                                             MSG    Case administration     Attorney-Client Privilege                              28C5275   B&F 0000300 - B&F 0000310
 70    04/15/2016 6:18 PM   CORRESP      RE: "Go Forward" Steps ?                                                   Jeff Baird          Les Stockett                                                                                           MSG    Case administration     Attorney-Client Privilege                              28C5327   B&F 0000291 - B&F 0000299
 69    04/19/2016 1:56 PM   CORRESP      Drafts of Opinion Letter and Advisory Opinion Request                      Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28C8377   B&F 0000290
 68    04/19/2016 2:03 PM   CORRESP      RE: Drafts of Opinion Letter and Advisory Opinion Request                  Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28C8384   B&F 0000289
 67    04/19/2016 3:22 PM   CORRESP      Advisory Opinion Request Info--5604.001                                    Michele Tran        Jeff Baird                                                                                             MSG    Legal research          Work Product Doctrine                                  28C8485   B&F 0000284 - B&F 0000288
 66    04/19/2016 5:28 PM   OPINIONLTR   Letter to Les Stockett Re: Proposed Telehealth Model                       JSB                 Les Stockett                                           Creag Harry                                     DOC    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28C8676   B&F 0000280 - B&F 0000283
 65    04/19/2016 5:31 PM   CORRESP      Opinion Letter                                                             Amy Watson          Les Stockett                                           Jeff Baird                                      MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28C8803   B&F 0000275 - B&F 0000279
 64    04/20/2016 5:31 AM   CORRESP      Re: Opinion Letter - 2pm East Call today ??                                lesdtl@gmail.com    Amy Watson                                             coo@procall.com; Jeff Baird                     MSG    Legal advice            Attorney-Client Privilege                              28C8980   B&F 0000273 - B&F 0000274
 63    04/20/2016 5:58 AM   ATTACH       Letter to Les Stockett Re Pro - notes.docx (Attach_1) Re: Opinion Let      lesdtl@gmail.com    Jeff Baird                                                                                             DOCX   Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28C8993   B&F 0000269 - B&F 0000272
 62    04/20/2016 5:58 AM   CORRESP      Re: Opinion Letter - 2pm East Call today ?? (w attachment)                 lesdtl@gmail.com    Amy Watson                                             coo@procall.com; Jeff Baird                     MSG    Legal advice            Attorney-Client Privilege                              28C8992   B&F 0000262 - B&F 0000268
 61    04/20/2016 9:11 AM   CORRESP      RE: Opinion Letter - 2pm East Call today ?? (w attachment)                 Amy Watson          Les Stockett                                           coo@procall.com; Jeff Baird                     MSG    Case administration     Attorney-Client Privilege                              28C8989   B&F 0000258 - B&F 0000261
 60    04/20/2016 9:14 AM   CORRESP      Re: Opinion Letter - 2pm East Call today ?? (w attachment)                 lesdtl@gmail.com    Amy Watson                                             coo@procall.com; Jeff Baird                     MSG    Case administration     Attorney-Client Privilege                              28C9017   B&F 0000253 - B&F 0000257
 59    04/20/2016 9:27 AM   CORRESP      RE: Opinion Letter - 2pm East Call today ?? (w attachment)                 Amy Watson          Les Stockett                                           coo@procall.com; Jeff Baird                     MSG    Case administration     Attorney-Client Privilege                              28C9016   B&F 0000248 - B&F 0000252
 58    04/20/2016 9:32 AM   CORRESP      Re: Opinion Letter - 2pm East Call today ?? (w attachment)                 lesdtl@gmail.com    Amy Watson                                             coo@procall.com; Jeff Baird                     MSG    Case administration     Attorney-Client Privilege                              28C9070   B&F 0000241 - B&F 0000247
 57    04/20/2016 9:41 AM   CORRESP      Conference Call with Jeff Baird                                            Amy Watson          Les@procall.com; coo@procall.com                                                                       MSG    Case administration     Attorney-Client Privilege                              28C9063   B&F 0000240
 56    04/22/2016 8:51 AM   CORRESP      FW: Opinion Letter - 2pm East Call today ?? (w attachment)                 Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28D3505   B&F 0000232 - B&F 0000239
 55   04/30/2016 11:24 AM   BILL         Bill#71000; Reversed: 05/04/2016                                           LS                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28B5586   B&F 0000230 - B&F 0000231
 54   04/30/2016 11:38 AM   BILL         Bill#71015                                                                 LS                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28F4189   B&F 0000228 - B&F 0000229
 53    05/04/2016 6:38 AM   CORRESP      Opinion Letter / agreement for call centers                                lesdtl@gmail.com    Jeff Baird                                             ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege                              28F5528   B&F 0000222 - B&F 0000227
 52    05/04/2016 9:33 AM   CASEMAN      5604.001- Telehealth Doctors Network, LLC d/b/a Video Doctor USA           Teresa Contreras    Lori Scales                                            Stephanie Pearson                               MSG    Case administration     Work Product Doctrine                                  28F3504   B&F 0000221
 51   05/04/2016 10:10 AM   CORRESP      RE: 5604.001- Telehealth Doctors Network, LLC d/b/a Video Doctor USA       LS                  Teresa Contreras                                       Stephanie Pearson                               MSG    Case administration     Work Product Doctrine                                  28F3871   B&F 0000220
 50   05/04/2016 10:15 AM   CORRESP      RE: Opinion Letter / agreement for call centers                            Jeff Baird          Les Stockett                                           ch@procall.com                                  MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28F5526   B&F 0000213 - B&F 0000219
 49    05/04/2016 3:55 PM   CORRESP      Invoice                                                                    Stephanie Pearson   Les@procall.com                                        Teresa Contreras                                MSG    Case administration     Attorney-Client Privilege                              28F5347   B&F 0000209 - B&F 0000212
 48    05/04/2016 6:07 PM   CORRESP      RE: Opinion Letter / agreement for call centers                            Jeff Baird          Les Stockett                                           Ch@procall.com                                  MSG    Case administration     Attorney-Client Privilege                              28F6917   B&F 0000202 - B&F 0000208
 47    05/05/2016 6:53 AM   CORRESP      Re: Opinion Letter / agreement for call centers                            lesdtl@gmail.com    Jeff Baird                                             Ch@procall.com                                  MSG    Case administration     Attorney-Client Privilege                              28F6319   B&F 0000192 - B&F 0000201
 46    05/05/2016 7:14 AM   CORRESP      RE: Opinion Letter / agreement for call centers                            Jeff Baird          Les Stockett                                           Ch@procall.com                                  MSG    Case administration     Attorney-Client Privilege                              28F6313   B&F 0000184 - B&F 0000191
 45    05/05/2016 7:16 AM   CASEMAN      VDUSA/Les Stockett                                                         Jeff Baird          Denise Leard                                                                                           MSG    Case administration     Work Product Doctrine                                  28F6311   B&F 0000183
 44    05/06/2016 6:59 PM   OPINIONLTR   Redline Letter Re: Proposed Telehealth Model 050616                        JSB                 Telehealth Doctors Network, LLC                                                                        DOC    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28G0347   B&F 0000178 - B&F 0000182
 43    05/06/2016 7:02 PM   CORRESP      Opinion Letter                                                             Amy Watson          lesdtl@gmail.com; coo@procall.com                      Jeff Baird                                      MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28G0348   B&F 0000169 - B&F 0000177
 42    05/07/2016 8:29 AM   CORRESP      Fwd: Opinion Letter.                                                       Les Stockett        Amy Watson; Jeff Baird; Creag Harry                                                                    MSG    Legal advice            Attorney-Client Privilege                              28G6303   B&F 0000157 - B&F 0000168
 41    05/09/2016 2:28 PM   ATTACH       Screen shots - journey of process.docx (Attach_8) Re: follow up            lesdtl@gmail.com    Jeff Baird                                                                                             DOCX   Legal advice            Attorney-Client Privilege                              2887281   B&F 0000148 - B&F 0000156
 40    05/09/2016 3:21 PM   CORRESP      Process Review                                                             Denise Leard        lesdt@gmail.com                                        Jeff Baird                                      MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28G3260   B&F 0000145 - B&F 0000147
 39    05/09/2016 4:09 PM   OTHER        Test Print with DML's comments                                             DML                 lesdt@gmail.com                                        Jeff Baird                                      PDF    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28G3427   B&F 0000140 - B&F 0000144
 38    05/09/2016 4:13 PM   CORRESP      Order                                                                      Denise Leard        lesdtl@gmail.com                                                                                       MSG    Legal advice            Attorney-Client Privilege;   Work Product Doctrine     28G3439   B&F 0000134 - B&F 0000139
 37    05/11/2016 2:58 PM   CORRESP      Re: Opinion Letter.                                                        Les Stockett        Jeff Baird                                                                                             MSG    Legal advice            Attorney-Client Privilege                              28G9106   B&F 0000130 - B&F 0000133
 36    05/18/2016 4:15 AM   CORRESP      Re: Opinion Letter.                                                        Les Stockett        Jeff Baird                                                                                             MSG    Legal advice            Attorney-Client Privilege                              28I4071   B&F 0000125 - B&F 0000129
 35    05/18/2016 6:31 AM   CORRESP      Re: Opinion Letter.                                                        Jeff Baird          Les Stockett                                           Amy Watson; Creag Harry                         MSG    Legal advice            Attorney-Client Privilege;   Work Product   Doctrine   28I4070   B&F 0000120 - B&F 0000124
 34   05/18/2016 10:10 AM   OPINIONLTR   Letter to Telehealth Doctors Network, LLC Re: Proposed Telehealth Mode     JSB                 Telehealth Doctors Network, LLC                                                                        DOC    Legal advice            Attorney-Client Privilege;   Work Product   Doctrine   28I0792   B&F 0000117 - B&F 0000119
 33   05/18/2016 10:34 AM   OPINIONLTR   Letter to Telehealth Doctors Network, LLC Re: Proposed Telehealth Mode     JSB                 Telehealth Doctors Network, LLC                                                                        DOC    Legal advice            Attorney-Client Privilege;   Work Product   Doctrine   28G0337   B&F 0000114 - B&F 0000116
 32   05/18/2016 10:36 AM   OPINIONLTR   Letter to Telehealth Doctors Network LLC, Re: Proposed Telehealth Mode     JSB                 Telehealth Doctors Network, LLC                                                                        PDF    Legal advice            Attorney-Client Privilege;   Work Product   Doctrine   28I0835   B&F 0000110 - B&F 0000113
 31   05/18/2016 10:39 AM   CORRESP      RE: Opinion Letter.                                                        Amy Watson          Les Stockett                                           Creag Harry; Jeff Baird                         MSG    Legal advice            Attorney-Client Privilege;   Work Product   Doctrine   28I0858   B&F 0000103 - B&F 0000110
 30   05/31/2016 11:24 AM   BILL         Bill#71915                                                                 CN                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28G2123   B&F 0000101 - B&F 0000102
 29   06/07/2016 12:00 PM   CORRESP      INVOICE                                                                    Charla Nolen        Les@procall.com                                                                                        MSG    Case administration     Attorney-Client Privilege                              28L7486   B&F 0000098 - B&F 0000100
 28   06/27/2016 11:32 AM   BILL         Bill#72920                                                                 CN                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28M2381   B&F 0000096 - B&F 0000097
 27   07/31/2016 10:03 AM   BILL         Bill#73934                                                                 CN                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28S1050   B&F 0000095
 26    08/15/2016 3:56 PM   BILL         Bill#74463                                                                 CN                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              28X5370   B&F 0000094
 25    09/29/2016 4:55 PM   CORRESP      Brown & Fortunato Statement                                                Susan Thach         Les@procall.com                                                                                        MSG    Case administration     Attorney-Client Privilege                              2968848   B&F 0000092 - B&F 0000093
 24    09/30/2016 4:50 PM   BILL         Bill#75783                                                                 ST                  Telehealth Doctors Network, LLC Attn:   Les Stockett                                                   PDF    Case administration     Attorney-Client Privilege                              2929441   B&F 0000091
 23    10/19/2016 5:13 PM   CASEMAN      5604.001 - Telehealth Doctors Network, LLC d/b/a Video Doctor USA          Amy Watson          Lori Scales                                            Teresa Contreras                                MSG    Disengagement details   Work Product Doctrine                                  29A2945   B&F 0000090
 22    10/20/2016 9:32 AM   ENGAGELTR    Disengagement Letter - EMAIL                                               JSB                 Les Stockett                                                                                           DOC    Disengagement details   Attorney-Client Privilege                              29A2928   B&F 0000089
 21    10/20/2016 9:35 AM   CORRESP      Disengagement Letter                                                       Teresa Contreras    Les Stockett                                                                                           MSG    Disengagement details   Attorney-Client Privilege                              29A3379   B&F 0000087 - B&F 0000088
 20    10/20/2016 2:48 PM   CORRESP      Certified Mailing                                                          Teresa Contreras    firm                                                                                                   MSG    Case administration     Work Product Doctrine                                  29A4812   B&F 0000086
 19    10/20/2016 2:52 PM   FORM         Disengagement Letter - CERTIFIED                                           JSB                 Les Stockett                                                                                           DOCX   Disengagement details   Attorney-Client Privilege                              29A4819   B&F 0000085
 18    10/24/2016 2:07 PM   CORRESP      Re: Disengagement Letter                                                   Les Stockett        Teresa Contreras                                                                                       MSG    Disengagement details   Attorney-Client Privilege                              29B6037   B&F 0000083 - B&F 0000084
 17    10/24/2016 2:28 PM   CORRESP      RE: Disengagement Letter                                                   Teresa Contreras    Les Stockett                                                                                           MSG    Disengagement details   Attorney-Client Privilege                              29B6035   B&F 0000081 - B&F 0000082
 16   10/26/2016 11:19 AM   CORRESP      9999.999 TC - 01066154000094522262                                         TC                                                                                                                         PDF    Case administration     Work Product Doctrine                                  29B6027   B&F 0000080
 15    10/31/2016 4:44 PM   BILL         Bill#76439                                                                 ST                  Telehealth Doctors Network, LLC Attn: Les Stockett                                                     PDF    Case administration     Attorney-Client Privilege                              2987917   B&F 0000079
 14   12/27/2016 10:00 AM   CASEMAN      File Closing Form 5604.001 (Sent to ST)                                    Zenda Ratliff       Susan Thach                                                                                            MSG    Firm administration     Work Product Doctrine                                  29N0740   B&F 0000078
 13    01/09/2017 2:23 PM   CASEMAN      RE: File Closing Form 5604.001                                             Susan Thach         Zelda Ratliff                                                                                          MSG    Firm administration     Work Product Doctrine                                  29P6957   B&F 0000077
 12    01/09/2017 2:27 PM   CASEMAN      File Closing Form 5604.001 (Sent to KB)                                    Zenda Ratliff       Kevin Burroughs                                                                                        MSG    Firm administration     Work Product Doctrine                                  29P6983   B&F 0000076
 11   01/10/2017 12:24 PM   FORM         File Closing Form                                                          zr                                                                                                                         DOC    Firm administration     Work Product Doctrine                                  29N0724   B&F 0000075
 10   01/27/2017 11:25 AM   CORRESP      Brown & Fortunato W-9                                                      Susan Thach         cr@procall.com                                                                                         MSG    Case administration     Attorney-Client Privilege                              29T6001   B&F 0000073 - B&F 0000074
  9    12/10/2018 4:00 PM   CASEMAN      FW: "Go Forward" Steps                                                     Teresa Contreras    Elizabeth Jepson; Markus Cicka                                                                         MSG    Firm administration     Work Product Doctrine                                  2E07750   B&F 0000055 - B&F 0000072
  8    12/10/2018 4:36 PM   CASEMAN      RE: "Go Forward" Steps                                                     Teresa Contreras    Elizabeth Jepson; Markus Cicka                                                                         MSG    Firm administration     Work Product Doctrine                                  2E07834   B&F 0000035 - B&F 0000054
  7   07/16/2019 11:44 AM   ATTACH       Opinion Letter-AGA-CS-A692969.pdf (Attach_2) American Genetics Advocates   Jeff Baird          American Genetics Advocates LLC                                                                        PDF    Legal advice            Work Product Doctrine                                  2FB3889   B&F 0000031 - B&F 0000034
  6   07/16/2019 11:44 AM   CORRESP      American Genetics Advocates LLC dba American Health Screening              Mitchell Levine     Jeff Baird                                                                                             MSG    Firm administration     Work Product Doctrine                                  2FB3888   B&F 0000026 - B&F 0000030
  5   07/16/2019 12:13 PM   CORRESP      FW: American Genetics Advocates LLC dba American Health Screening          Jeff Baird          mlevine@nairlevin.com                                                                                  MSG    Firm administration     Work Product Doctrine                                  2FB2597   B&F 0000020 - B&F 0000025
  4   07/16/2019 12:14 PM   CORRESP      RE: American Genetics Advocates LLC dba American Health Screening          Mitchell Levine     Jeff Baird                                                                                             MSG    Firm administration     Work Product Doctrine                                  2FB2596   B&F 000001 7- B&F 0000019
  3   07/16/2019 12:15 PM   CORRESP      RE: American Genetics Advocates LLC dba American Health Screening          Jeff Baird          Mitchell Levine                                                                                        MSG    Firm administration     Work Product Doctrine                                  2FB2595   B&F 0000014 - B&F 0000016
  2   07/17/2019 11:38 AM   CORRESP      FW: American Genetics Advocates LLC dba American Health Screening          Jeff Baird          Mitchell Levine                                                                                        MSG    Firm administration     Work Product Doctrine                                  2FB8362   B&F 0000008 - B&F 0000013
  1    07/23/2019 8:45 AM   CORRESP      FW: American Genetics Advocates LLC dba American Health Screening          Jeff Baird          Mitchell Levine                                                                                        MSG    Firm administration     Work Product Doctrine                                  2FC6623   B&F 0000001 - B&F 0000007
